          Case 8:04-cr-00235-DKC Document 1732 Filed 12/23/14 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

                                                         *
                                                         *
UNITED STATES OF AMERICA                                 *
                                                         *
                                                         *
v.                                                       *    Criminal Case No. RWT-04-0235
                                                         *
                                                         *
LAVON DOBIE                                              *
                                                         *
                                                         *
                                                         *

                                                    ORDER

        Lavon Dobie has filed a Supplemental Motion to Request a Modification to Sentence.

ECF No. 1676. In essence, Dobie requests that the Court amend its judgment so as to allow her

to be eligible for prerelease custody.1 Id. Dobie does not allege that there was any error in the

judgment that would allow the Court to modify her sentence pursuant to Federal Rule of

Criminal Procedure 35, or any other provision of federal law.2 At this stage, the Court is simply

without authority to reduce Dobie’s sentence simply so that she can be eligible for prerelease

custody.3

        Accordingly, it is, this 23rd day of December, 2014, by the United States District Court

for the District of Maryland,

1
  18 U.S.C. § 3624(c)(1) allows the Bureau of Prisons to allow a prisoner to spend the final part of their sentence,
not to exceed 12 months, “under conditions that will afford that prisoner a reasonable opportunity to adjust to and
prepare for the reentry of that prisoner into the community.”
2
  The Court may modify a sentence for extraordinary and compelling reasons, but only upon motion of the Director
of the Bureau of Prisons. 18 U.S.C. § 3582(c)(1)(A)(i).
3
  The Court notes that, pursuant to 3582(c)(2), Dobie’s sentenced was reduced from 170 months to 152 months
following a subsequent change in her sentencing range, such reduction to be effective on November 1, 2015.
ECF No. 1729.
        Case 8:04-cr-00235-DKC Document 1732 Filed 12/23/14 Page 2 of 2



       ORDERED, that Defendant Lavon Dobie’s Supplemental Motion to Request a

Modification to Sentence [ECF No. 1676] is DENIED; and it is further

       ORDERED, that the Clerk shall mail a copy of this Order to Defendant.



                                                               /s/
                                                           ROGER W. TITUS
                                                    UNITED STATES DISTRICT JUDGE




                                             2
